       Case 1:11-cr-00354-JLT Document 427 Filed 12/11/13 Page 1 of 2
                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1
           MARK W. COLEMAN #117306
 2          NUTTALL & COLEMAN
                 2445 CAPITOL STREET, SUITE 150
                   FRESNO, CALIFORNIA 93721
 3                   PHONE (559) 233-2900
                       FAX (559) 485-3852
 4

 5
     ATTORNEYS FOR Defendant,
 6
                    MANUEL ALEJANDRO GARCIA
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                                 ******
11   UNITED STATES OF AMERICA,                            CASE NO.: 11-CR-00354 LJO

12                   Plaintiff,
                                                                STIPULATION TO CONTINUE
13          v.                                                        SENTENCING
                                                                          AND
14
     MANUEL ALEJANDRO GARCIA, et al.,                                   ORDER
15
                     Defendant.
16

17          TO:      THE       UNITED         STATES    DISTRICT       COURT;       UNITED          STATES
18   ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:
19
            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20
     clients that the Sentencing hearing currently on calendar for December 16, 2013, at 8:30 a.m.,
21
     be continued to January 6, 2014, at 8:30 a.m., or as soon thereafter as is convenient to the
22
     court’s calendar.
23
            The continuance is requested by counsel for Defendant, MANUEL ALEJANDRO
24

25   GARCIA. Counsel, Mark W. Coleman, has had a death in his family and must attend the

26   funeral on Monday, December 16, 2013, in Auburn, CA.

27          Counsel for Defendant has spoken with Assistant U. S. Attorney, KIMBERLY

28   SANCHEZ, who has no objection to this continuance.
                                                         1
                                        STIPULATION TO CONTINUE SENTENCING
      Case 1:11-cr-00354-JLT Document 427 Filed 12/11/13 Page 2 of 2
 1   Dated: December 11, 2013.   Respectfully Submitted,
                                                      NUTTALL & COLEMAN
 2
                                                      /s/ Mark W. Coleman
 3
                                                      MARK W. COLEMAN
                                                      Attorney for Defendant,
 4                                                    MANUEL ALEJANDRO GARCIA
 5
     Dated: December 11 , 2013.                       UNITED STATES ATTORNEY’S OFFICE
 6
                                                      /s/ Kimberly Sanchez
 7
                                                      KIMBERLY SANCHEZ
                                                      Assistant U.S. Attorney
 8
                                                          *******
 9
                                                           ORDER
10
                                                              ______________________
11
     IT IS SO ORDERED.
12
                           Dated:   December 11, 2013                  /s/ Lawrence J. O’Neill
13                                                                UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                                                 2
                                                STIPULATION TO CONTINUE SENTENCING
